Case 1:25-cv-00916-JDB   Document 19-8   Filed 04/08/25   Page 1 of 3




       EXHIBIT 5
          Case 1:25-cv-00916-JDB               Document 19-8           Filed 04/08/25         Page 2 of 3



Fact Sheet: President Donald J. Trump Directs
Suspension of Security Clearances and Evaluation of
Government Contracts for Involvement in Government
Weaponization
    whitehouse.gov/fact-sheets/2025/02/fact-sheet-president-donald-j-trump-directs-suspension-of-security-clearances-
and-evaluation-of-government-contracts-for-involvement-in-government-weaponization

                                                                                                     February 25, 2025




Fact Sheets
ADDRESSING THE WEAPONIZATION OF GOVERNMENT: Today, President Donald J.
Trump signed a memorandum to suspend security clearances for Covington & Burling LLP
employees involved in the weaponization of government, pending a review of their roles and
responsibility in the weaponization of the judicial process. This action also initiates a
comprehensive review of all Federal contracts with the firm to ensure alignment with the
interests of the American people.

       Security clearances held by Peter Koski and potential other members of Covington &
       Burling LLP who assisted former Special Counsel Jack Smith will be suspended,
       pending a review of their roles and responsibility in the weaponization of the judicial
       process.




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        Case 1:25-cv-00916-JDB       Document 19-8      Filed 04/08/25    Page 3 of 3

     The Federal Government will review and terminate engagement of Covington & Burling
     LLP by the United States to the maximum extent permitted by law.
          All contracts with Covington & Burling LLP will undergo a detailed evaluation to
          ensure agency funding decisions align with American citizens’ interests and the
          priorities of this Administration, as detailed in executive directives.

PRIORITIZING CITIZENS OVER PARTISAN GAMES: President Trump remains steadfast in
his commitment to restoring trust in government by ensuring that public resources and
privileges are not exploited for political gain.

     Individuals who hold government-issued security clearances bear a responsibility to
     uphold impartiality and the national interest. These privileges should not be leveraged
     to interfere in U.S. elections or advance partisan objectives.
     Covington & Burling LLP provided former Special Counsel Jack Smith with $140,000 in
     free legal services prior to his resignation from the Department of Justice.
            Jack Smith and his staff spent more than $50 million in taxpayer dollars to target
            President Trump—an egregious misuse of judicial authority for political ends and
            part of the prior administration’s unprecedented weaponization of prosecutorial
            power to upend the democratic process.

A RETURN TO ACCOUNTABILITY: President Trump is sending a clear message that the
Federal Government will no longer tolerate the abuse of power by partisan actors who exploit
their positions for political gain.

     President Trump is refocusing government operations to its core mission – serving the
     citizens of the United States.
     President Trump revoked security clearances held by dozens of intelligence officials
     who falsely claimed in a 2020 letter, during the height of the U.S. presidential election
     season, that Hunter Biden’s laptop was tantamount to Russian disinformation.
     President Trump signed an Executive Order to end the weaponization of the Federal
     Government on his first day in office after promising to “end forever the weaponization
     of government and the abuse of law enforcement against political opponents.”




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